Case: 1:17-cv-06086 Document #: 305 Filed: 01/06/23 Page 1 of 1 PageID #:8197

                    UNITED STATES DISTRICT COURT
           FOR THE Northern District of Illinois − CM/ECF NextGen 1.6.3
                               Eastern Division

Overwell Harvest, Limited
                                     Plaintiff,
v.                                                       Case No.: 1:17−cv−06086
                                                         Honorable Sara L. Ellis
David Widerhorn, et al.
                                     Defendant.



                          NOTIFICATION OF DOCKET ENTRY



This docket entry was made by the Clerk on Friday, January 6, 2023:


        MINUTE entry before the Honorable Sara L. Ellis: Pretrial Conference set for
1/6/2023 is stricken and reset to 1/11/2023 at 1:30 PM. The parties are required to appear
in person. Mailed notice(rj, )




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